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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


SYMBOLOGY INNOVATIONS LLC,                       §
                                                 §
       Plaintiff,                                §    CASE NO. 1:18-cv-00684-GMS
                                                 §
       v.                                        §
                                                 §
MILESTONE AV TECHOLOGIES LLC,                    §
d/b/a SANDS,                                     §    JURY TRIAL DEMANDED
                                                 §
                                                 §
       Defendant.                                §




                    JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE

       Plaintiff Symbology Innovations LLC and Defendant Milestone AV Technologies LLC

d/b/a Sanus, pursuant to Fed. R. Civ. P. 41 (a), hereby move for an order dismissing all claims by

Plaintiff against Defendant with prejudice and counterclaims by Defendant against Plaintiff

without prejudice, with each party to bear its own costs, expenses and attorney's fees.



Dated: July 13, 2018                          Respectfully Submitted,

FISH & RICHARDSON P.C.                        Isl Stamatios Stamoulis
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                                         ATTORNEYS FOR PLAINTIFF
                                         SYMBOLOGY INNOVATIONS LLC



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SO ORDERED, this     J(p day   of_....._--=-1-;~---~
